                                                                               Case 4:06-cr-00189-SBA           Document 118      Filed 06/22/06    Page 1 of 1



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                                                                         2                                  IN THE UNITED STATES DISTRICT COURT
                                                                         3                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         7    UNITED STATES OF AMERICA,                            No. CR 06-00189 SBA
                                                                         8                     Plaintiff.
                                                                                                                                   ORDER
                                                                         9      v.
                                                                         10   TERRANCE TYRICE THOMAS,
                                                                         11
United States District Court




                                                                                          Defendant.
                                                                              _______________________________________
                               For the Northern District of California




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                                                                         13                    IT IS HEREBY ORDERED THAT Magistrate Judge Wayne D. Brazil’s order granting

                                                                         14   pre-trial release (“Order”) to defendant Terrance Tyrice Thomas in the above captioned matter is

                                                                         15   STAYED until this Court issues a ruling in the appeal of the Order.

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                                                                         17          IT IS SO ORDERED.
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                                                                         19   Dated: 6/21/06                                      SAUNDRA BROWN ARMSTRONG
                                                                                                                                  United States District Judge
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